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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


                                                        :
 BANCO SAN JUAN INTERNACIONAL. INC.,                    :
                                                        :
                        Plaintiff,                      :   C.A. No. 1:22-CV-01315-LPS
                                                        :
          v.                                            :
                                                        :
 PETRÓLEOS DE VENEZUELA, S.A.                           :
 and PDVSA PETRÓLEO, S.A.,                              :
                                                        :
                        Defendants.                     :



 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS


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                        NATURE AND STAGE OF PROCEEDINGS

       Petróleos de Venezuela, S.A. (“PDVSA”) and PDVSA Petróleo, S.A. (“PPSA” and,

together with PDVSA, “Defendants”) respectfully submit this memorandum of law in support of

their motion to dismiss for improper service of process pursuant to Federal Rule of Civil

Procedure 12(b)(4)-(5) and the Foreign Sovereign Immunities Act (the “FSIA”), 28 U.S.C.

§ 1608(b); lack of personal jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2) and

the FSIA, 28 U.S.C. § 1330(b); improper venue pursuant to Federal Rule of Civil Procedure

12(b)(3) and the FSIA, 28 U.S.C. § 1391(f); and, alternatively, lack of subject matter jurisdiction

pursuant to Federal Rule of Civil Procedure 12(b)(1) and the FSIA, 28 U.S.C. § 1330(a).

                                  SUMMARY OF ARGUMENT

       Plaintiff Banco San Juan Internacional (“Plaintiff”) commenced this action to enforce a

pair of judgments entered against Defendants by courts in the United Kingdom. It is undisputed

that Defendants are agencies or instrumentalities of a foreign state – namely the Bolivarian

Republic of Venezuela (the “Republic”) – under the FSIA. Compl. ¶ 4. Accordingly, Plaintiff is

required to comply with all of the FSIA’s jurisdictional and procedural requirements, including

the FSIA’s provisions governing service of process, venue, the exceptions to foreign sovereign

immunity, and personal and subject matter jurisdiction. Plaintiff has failed to do so. Therefore,

this case should be dismissed.

       The FSIA’s exclusive venue provisions, 28 U.S.C. § 1391(f), do not provide any basis for

commencing this action in Delaware. It is undisputed that this case has no connection

whatsoever with Delaware. Instead, Plaintiff asserts that venue is proper because Defendants are

“doing business” in Delaware. But there are no allegations in the Complaint to support that

conclusory allegation. Moreover, this Court has already held that PDVSA is not “doing

business” in Delaware for purposes of the FSIA’s venue provisions. See Saint-Gobain
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Performance Plastics Europe v. Bolivarian Republic of Venezuela (“Saint-Gobain”), Civ. No.

1:18-cv-1963-LPS, 2019 U.S. Dist. LEXIS 214167, at *27-28 (D. Del. Dec. 12, 2019)

.

       Although not alleged in the Complaint, Plaintiff’s other filings in this case admit that

Plaintiff filed its lawsuit in Delaware simply because PDVSA owns shares in a Delaware

corporation – PDV Holding, Inc. (“PDVH”). However, this Court has already held that PDVSA

is not “doing business” in Delaware for purposes of the FSIA’s venue statute simply because it

owns shares of PDVH. See Saint-Gobain, 2019 U.S. Dist. LEXIS 214167, at *27-28. While

Plaintiff contends that venue is proper on the grounds that it hopes to subsequently enforce any

judgment entered in this case by attaching the PDVH shares, this Court rejected that same

argument in the Saint-Gobain case. Indeed, venue cannot be predicated on PDVSA’s ownership

of the PDVH shares because this case has nothing to do with those shares and venue is not

proper under the FSIA simply because the foreign sovereign defendant has an asset in the district

that might be available to satisfy an eventual judgment. Accordingly, this Court should grant

Defendants motion to dismiss for improper venue under the FSIA – or, alternatively, transfer this

case to the FSIA’s default venue, the U.S. District Court for the District of Columbia (the “D.C.

Court”). See 28 U.S.C. § 1391(f)(4).

       But even assuming arguendo that this District is the proper venue, which it is not,

Plaintiff has failed to serve Defendants in accordance with the FSIA’s exclusive provisions for

serving foreign sovereign defendants, 28 U.S.C. § 1608. Plaintiff argues that it served

Defendants pursuant to a “special arrangement” contained in the parties’ underlying contracts.

However, to qualify as a “special arrangement for service” under Section 1608, the contract must

clearly provide for service of process on the foreign sovereign defendant in the particular U.S.



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proceeding at issue. Here, the underlying contracts provide “for service of proceedings in

England” on the parties’ authorized service agents. Banco San Juan Internacional, Inc. v.

Petróleos de Venezuela, S.A., [2020] EWHC 2145 (Comm) (July 31, 2020) at ¶ 4. Such a

contractual provision for service of U.K. proceedings does not constitute a special arrangement

for service of U.S. proceedings under the FSIA.

       Furthermore, Plaintiff did not serve any agent authorized by Defendants. Rather,

Plaintiff itself purported to appoint Maples & Calder (“Maples”) to act as Defendants’ agent for

service of U.K. proceedings and thereafter purported to deliver copies of the Summons and

Complaint by hand and email to an individual in Maples’ London office. Plaintiff’s attempt to

serve Defendants by delivering the pleadings to a complete stranger in London was not

reasonably calculated to notify Defendants and was not effective service under the FSIA.

Plaintiff’s failure to properly serve Defendants also precludes the exercise of statutory personal

jurisdiction under the FSIA, 28 U.S.C. § 1330(b). Therefore, even if the Court decides that

venue is proper, the Court should alternatively grant Defendants’ motion to dismiss for improper

service and lack of personal jurisdiction under the FSIA.

       Finally, Defendants are entitled to foreign sovereign immunity in this case under the

FSIA. The Complaint does not assert any specific exception to foreign sovereign immunity

enumerated in the FSIA. None apply. However, this Court can, and should, dismiss or transfer

this case for the reasons stated herein without reaching the issue of immunity. Nevertheless, to

avoid any contention that Defendants have waived their immunity, Defendants alternatively seek

dismissal of this case for lack of subject matter jurisdiction under the FSIA. If the Court

ultimately determines that Defendants were properly served and are subject to personal

jurisdiction and that venue is proper under the FSIA, Defendants are prepared to more fully brief



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the issues of foreign sovereign immunity and subject matter jurisdiction under the FSIA at that

time.

                                   STATEMENT OF FACTS

        Defendant PDVSA is a Venezuelan corporation that is wholly-owned by the Republic.

Compl. ¶ 2. Defendant PPSA is a Venezuelan corporation that is wholly-owned by PDVSA.

Compl. ¶ 3. As alleged in the Complaint, Defendants are agencies or instrumentalities of the

Republic under the FSIA. Compl. ¶ 4 (citing 28 U.S.C. § 1603).

        Plaintiff Banco San Juan Internacional is a Puerto Rican bank that allegedly entered into

two credit agreements with PDVSA. Compl. ¶ 1, 8. According to the Complaint, Plaintiff

entered into the first agreement with PDVSA on March 23, 2016 (the “2016 Credit Agreement”)

pursuant to which Plaintiff allegedly loaned approximately $39.5 million to PDVSA. Compl.

¶ 9. According to the Complaint, Plaintiff entered into the second agreement with PDVSA on

April 6, 2017 (the “2017 Credit Agreement” and together with the 2016 Credit Agreement, the

“Credit Agreements”), pursuant to which Plaintiff allegedly loaned approximately $31 million to

PDVSA. Compl. ¶ 10. PPSA allegedly guaranteed PDVSA’s payment obligations under the

2017 Credit Agreement. Id. The Credit Agreements were governed by English law and

provided for the U.K. courts to have exclusive jurisdiction to resolve any disputes under those

Agreements. D.I. 1-1 at ECF 12. The Credit Agreements contained provisions concerning

service of process in such U.K. court proceedings, which provide:

               i) PDVSA is obliged forthwith to appoint a process agent to be an
               authorised agent for service of proceedings in England.

               ii) If for any reason the process agent ceases to be such an agent,
               then PDVSA must forthwith appoint a new agent and notify that
               appointment within 30 days of the previous agent ceasing to be
               agent.




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                  iii) If PDVSA fails to comply with its obligation to appoint a new
                  agent for the service of process, the lender may appoint an agent for
                  service of process on PDVSA.

 Banco San Juan Internacional, Inc. v. Petróleos de Venezuela, S.A., [2020] EWHC 2145

 (Comm) (July 31, 2020) at ¶ 4 (emphasis added). On April 6, 2016, PDVSA designated Sisec

 Limited as its agent to receive process in England pursuant to the 2016 Credit Agreement. Id. at

 ¶ 5. PDVSA did not designate an agent to receive process under the 2017 Credit Agreement. Id.

 at ¶ 8.

           PDVSA allegedly defaulted under the Credit Agreements, and Plaintiff brought two

 actions in the U.K. courts to recover the outstanding principal amounts of the loans with interest.

 Compl. at ¶ 11, 14, 22. On May 18, 2020, Plaintiff commenced the first lawsuit against PDVSA

 in the Commercial Court, Queen’s Bench Division to recover amounts allegedly owed under

 both Credit Agreements. Compl. ¶ 14. Plaintiff argued that Sisec Limited’s appointment as

 PDVSA’s U.K. process agent had expired in April 2019, that PDVSA failed to appoint a

 replacement agent under the 2016 Credit Agreement, and that PDVSA failed to appoint any U.K.

 process agent under the 2017 Credit Agreement. Banco San Juan Internacional, Inc. v.

 Petróleos de Venezuela, [2020] EWHC 2145 (Comm) (July 31, 2020) at ¶ 5, 8. Plaintiff

 purported to appoint Maples in London to serve as PDVSA’s agent to receive process of English

 proceedings under the Credit Agreements. Id. at ¶ 5. Plaintiff then purported to serve PDVSA

 by serving Maples – the third-party agent that Plaintiff itself appointed. Id. On November 4,

 2020, the U.K. court entered a judgment against PDVSA in the amount of $46,656,068 for the

 2016 Credit Agreement and $37,230,278 for the 2017 Credit Agreement (the “2020 Judgment”).

 D.I. 1-1 at ECF 5 (Banco San Juan Internacional, Inc. v. Petróleos de Venezuela, S.A., [2020]

 EWHC 2937 (Comm) (Nov. 4, 2020)).




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          On December 18, 2020, Plaintiff initiated a second lawsuit in the U.K. courts against

 PPSA as guarantor under the 2017 Credit Agreement. D.I. 1-2 at ECF 14. Plaintiff purported to

 serve PPSA by serving Maples in London and argued that Plaintiff was entitled to appoint

 Maples as PPSA’s agent for receiving service of process for proceedings in the U.K. under the

 2017 Credit Agreement. Id. PPSA did not appear. Id. at ECF 15. On July 9, 2021, the U.K.

 court entered a default judgment against PPSA in the amount of $39,270,078 (the “2021

 Judgment” together with the 2020 Judgment, the “U.K. Judgments”). D.I. 1-2 at ECF 5 (Banco

 San Juan Internacional, Inc. v. PDVSA Petróleo, S.A., [2021] EWHC 1949 (Comm) (July 9,

 2021))

 .

          On October 5, 2022, Plaintiff commenced the above-captioned action against Defendants

 asserting claims to recognize the U.K. Judgments pursuant to Delaware’s Uniform Foreign-

 Country Money Judgments Recognition Act, 10 Del. C. § 4801 (the “Recognition Act”). Compl.

 ¶¶ 31, 41. On October 14, 2022, Plaintiff filed an amended Civil Cover Sheet and a letter to the

 Hon. Richard G. Andrews requesting this case be transferred to the Hon. Leonard P. Stark

 arguing, without explanation, that this case was related to various post-judgment enforcement

 proceedings pending before Judge Stark, including Crystallex Int’l Corp. v. Bolivarian Republic

 of Venezuela, No. 17-mc-0151-LPS (D. Del.). D.I. 8. On October 19, 2022, this case was

 reassigned to Judge Stark. On October 31, 2022, Plaintiff filed a status report stating that

 Plaintiff intended to serve Defendants pursuant to a “special arrangement for service

 contractually agreed between Plaintiff and Defendants” as well as through the Hague Convention




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 for Service of Judicial Documents Abroad.1 D.I. 12 at ECF 1. Plaintiff further stated that it filed

 its enforcement action in Delaware because creditors of the Republic and PDVSA had

 commenced post-judgment proceedings in this Court to enforce their U.S. judgments against

 PDVSA’s shares of PDVH. Id. at ECF 2. Plaintiff further explained that, if Plaintiff prevails on

 its claims in this case and obtains a judgment from this Court, Plaintiff intends to enforce any

 such prospective judgment by seeking an attachment of the PDVH shares. Id.

        On November 22, 2022, Plaintiff filed two affidavits of service signed by a “Rachel

 Spence” who claims to have received copies of the Summons and Complaint on November 18,

 2022 on behalf of Maples as agents for PDVSA and PPSA. Ms. Spence claims to have

 “personally received” the Summons and Complaint at Maples’ offices in London and “by

 electronic service.” Neither affidavit contains any information regarding Ms. Spence, and a

 search of Maples’ website does not reveal any individuals by the name of Rachel Spence. D.I.

 13; D.I. 14; see Maples Group, “People,” available at https://maples.com/en/people (last visited

 Jan. 17, 2023). Furthermore, the affidavits do not state that Maples has any contact information

 for anyone at PDVSA or PPSA, let alone state that the Summons and Complaint were, in fact,

 provided to either Defendant.

                                       LEGAL STANDARD

        As alleged in the Complaint, PDVSA and PPSA are “agencies or instrumentalities” of the

 Republic. Compl. ¶ 4 (citing 28 U.S.C. § 1603). As in every U.S. court proceeding against a

 foreign state or its agencies or instrumentalities, the FSIA governs this case. See Verlinden B.V.

 v. Cent. Bank of Nigeria, 461 U.S. 480, 488 (1983)



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  Plaintiff does not purport to have actually attempted, let alone completed, service on
 Defendants through the Hague Convention.


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 . Plaintiff must comply with the FSIA’s jurisdictional and procedural requirements, including

 the FSIA’s immunity provisions, venue requirements, and provisions for effecting service of

 process. See Mobil Cerro Negro, Ltd. v. Bolivarian Republic of Venezuela (“Mobil”), 863 F.3d

 96, 100 (2d Cir. 2017). Plaintiff has failed to do so.

                                            ARGUMENT

 I.     This Case Must Be Dismissed or Transferred for Improper Venue under the FSIA

        The FSIA’s venue provision – 28 U.S.C. § 1391(f) – is the exclusive basis for venue in

 suits against foreign sovereigns. See Mobil, 863 F.3d at 124; Uni-Top Asia Inv. Ltd. v. Sinopec

 Int’l Petro. Expl. & Prod. Corp., No. 20-cv-1770 (DLF), 2022 U.S. Dist. LEXIS 73524, at *19

 (D.D.C. Apr. 22, 2022); Rodriguez v. Pan Am. Health Org., No. 18-cv-24995-GAYLES, 2020

 U.S. Dist. LEXIS 58987, at *11 (S.D. Fla. April 3, 2020). Section 1391(f) states:

                A civil action against a foreign state as defined in section 1603(a) of
                this title may be brought:

                        (1) in any judicial district in which a substantial part of the
                events or omissions giving rise to the claim occurred, or a substantial
                part of property that is the subject of the action is situated;

                       (2) in any judicial district in which the vessel or cargo of a
                foreign state is situated, if the claim is asserted under section
                1605(b) of this title;

                        (3) in any judicial district in which the agency or
                instrumentality is licensed to do business or is doing business, if the
                action is brought against an agency or instrumentality of a foreign
                state as defined in section 1603(b) of this title; or

                       (4) in the United States District Court for the District of
                Columbia if the action is brought against a foreign state or political
                subdivision thereof.

 28 U.S.C. § 1391(f). While the Complaint asserts venue under Section 1391(f)(1) and (3),

 Plaintiff cannot establish the requirements of either provision. Compl. ¶ 6. Accordingly, the

 Court should dismiss this case for improper venue pursuant to Federal Rule of Civil Procedure


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 12(b)(3) or, alternatively, transfer this case to the FSIA’s default venue – the D.C. Court. See 28

 U.S.C. § 1391(f)(4); see also Saint-Gobain, 2019 U.S. Dist. LEXIS 214167, at *25 (transferring

 action to the D.C. Court).

        A.      Venue Is Not Proper under Section 1391(f)(1)

        Plaintiff does not assert venue under the first clause of Section 1391(f)(1), which applies

 only where “a substantial part of the events or omissions giving rise to the claim occurred.”

 28 U.S.C. § 1391(f)(1). Nor could it. This case has no connection whatsoever to Delaware.

 Instead, Plaintiff relies exclusively on the second clause of Section 1391(f)(1), alleging that “a

 substantial part of the property that is the subject of this enforcement action is situated in

 Delaware.” Compl. ¶ 6. But Plaintiff cannot satisfy the requirements of the second clause of

 Section 1391(f)(1) either.

        The second clause of Section 1391(f)(1) “governs venue in in rem actions concerning a

 specific and identifiable piece of property.” Palladian Partners, L.P. v. Province of Buenos

 Aires, No. 21 Civ. 5958 (CM), 2022 U.S. Dist. LEXIS 200875, at *9 (S.D.N.Y. Nov. 2, 2022)

 ; Asemani v. Islamic Republic of Iran, No. 18-CV-00368-CRB (PR), 2018 U.S. Dist. LEXIS

 102532, at *4-5 (N.D. Cal. June 18, 2018)

 . It applies only in actions to “adjudicate title, obtain possession of particular property, or

 vindicate interests in real property” that exist in the district. Detroit Int’l Bridge Co. v. Gov’t of

 Canada, 787 F. Supp. 2d 47, 50 (D.D.C. 2011). Section 1391(f)(1) does not apply simply

 because the defendant has an asset in the district that is not related to the claims asserted in the

 action. Palladian Partners, L.P., 2022 U.S. Dist. LEXIS 200875 at *9. Rather, the asset located

 in the district must be the asset that forms the basis of the plaintiff’s claim. Id.; see also Micula

 v. Gov’t of Rom., 714 F. App’x 18, 21 (2d Cir. 2017).




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        Here, the second clause of Section 1391(f)(1) is clearly inapplicable because this is not a

 property case. Rather, Plaintiff is asserting claims under the Recognition Act, 10 Del. C. § 4801,

 to recognize a pair of judgments entered by the U.K. courts. Such claims have nothing to do

 with any specific property. Indeed, the Complaint does not identify any property that would

 provide a basis for venue under Section 1391(f)(1).

        Moreover, Plaintiff admits that it filed the Complaint in this Court because other creditors

 of the Republic and PDVSA have commenced proceedings to enforce U.S. judgments against

 PDVSA’s shares of PDVH. See D.I. 12 at ECF 2. Plaintiff explains that it hopes to obtain a

 judgment on its Recognition Act claims and then commence similar post-judgment proceedings

 to enforce such a prospective judgment against PDVSA’s shares of PDVH. Id. However, the

 second clause of Section 1391(f)(1) requires the property located in the district to be the basis of

 the plaintiff’s claims, and here the PDVH shares have nothing to do with this case or the

 underlying U.K. Judgments. See Micula, 714 F. App’x at 21; Palladian Partners, L.P., 2022

 U.S. Dist. LEXIS 200875 at *9. Section 1391(f)(1) does not apply simply because a defendant

 has property in the district that might be available to satisfy an eventual judgment. See Micula,

 714 F. App’x at 21; see also Palladian Partners, L.P., 2022 U.S. Dist. LEXIS 200875 at *9;

 Asemani, 2018 U.S. Dist. LEXIS 102532, at *4-5. In fact, the plaintiff in Saint-Gabain made

 that same argument to this Court – i.e. that venue was appropriate under the FSIA because it was

 hoping to enforce an eventual judgment against the PDVH shares. See Plaintiff’s Sur-Reply

 Saint-Gobain Performance Plastics Europe v. Bolivarian Republic of Venezuela, Civ. No. 1:18-

 cv-01963-LPS, [D.I. No. 28 at p. 3] (D. Del. Sept. 3, 2019). Nevertheless, this Court implicitly

 rejected that argument and transferred the case to the FSIA’s default venue, the D.C. Court. See

 Saint-Gobain, 2019 U.S. Dist. LEXIS 214167, at *28-29.



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        Furthermore, while Plaintiff points to other creditor cases pending in this Court against

 the Republic and PDVSA, the procedural history of those cases demonstrate that Plaintiff is

 seeking an impermissible short-cut to evade the FSIA’s venue requirements. D.I. 8 and 12

 (citing, e.g., Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, No. 17-mc-0151-LPS

 (D. Del.)). For example, in Crystallex, the plaintiff brought an action in the FSIA’s default

 venue, the D.C. Court, to enforce an arbitral award rendered against the Republic. After the D.C.

 Court entered a judgment on the arbitral award, Crystallex registered that judgment in this

 District and commenced a subsequent proceeding in this Court to attach the PDVH shares. See

 Crystallex Int'l Corp. v. Bolivarian Republic of Venezuela, 333 F. Supp. 3d 380, 386-87 (D. Del.

 2018). Indeed, every single “related case” listed in Plaintiff’s amended Civil Cover Sheet was

 commenced through the registration of a judgment obtained in another U.S. District Court. See

 id.; Registration of Foreign Judgment, Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela,

 1:21-mc-00481-LPS, [D.I. 1] (D. Del. Nov. 4, 2021) (registering D.C. Court judgment);

 Registration of Foreign Judgment, Tidewater Investment SRL et al., v. Bolivarian Republic of

 Venezuela, 1:19-mc-00079-LPS, [D.I. 1] (D. Del. Apr. 3, 2019) (registering D.C. Court

 judgment); Registration of Foreign Judgment, OI European Group B.V. v. Bolivarian Republic of

 Venezuela, 1:19-mc-00290-LPS, [D.I. 1] (D. Del. Nov. 4, 2019) (registering D.C. Court

 judgment); see also Registration of Foreign Judgment, Red Tree Investments, LLC v. Petroleos

 de Venezuela, S.A. et al., 1:22-mc-00068-LPS, [D.I. 1] (D. Del. Feb. 8, 2022) (registering

 S.D.N.Y. judgment); Registration of Foreign Judgment, ACL1 Investments Ltd. et al., v.

 Bolivarian Republic of Venezuela, 1:21-mc-00046-LPS, [D.I. 1] (D. Del. Feb. 5, 2021)

 (registering S.D.N.Y. judgment); Registration of Foreign Judgment, Northrop Grumman Ship

 Systems, Inc. v. The Ministry of Defense of the Republic of Venezuela, 1:20-mc-00257-LPS, [D.I.



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 1] (D. Del. July 31, 2020) (registering S.D. Miss. judgment); Registration of Foreign Judgment,

 Phillips Petroleum Company Venezuela Ltd., et al., v. Petroleos de Venezuela, S.A. et al., 1:19-

 mc-00342-LPS, [D.I. 1] (D. Del. Nov. 26, 2019) (registering S.D.N.Y. judgment).2

        B.      Venue Is Not Proper under Section 1391(f)(3)

        The Complaint asserts that venue is proper in this District under Section 1391(f)(3)

 because PDVSA and PPSA “are licensed to do business or are doing business in Delaware

 within the meaning the of 28 U.S.C. § 1603.” Compl. ¶ 6. However, contrary to Plaintiff’s

 conclusory assertion, neither PDVSA nor PPSA are licensed to do business in Delaware.

 Plaintiff has no basis to allege otherwise.

        Nor can Plaintiff show that Defendants are “doing business” in Delaware for purposes of

 Section 1391(f)(3). While the FSIA does not define “doing business,”3 this Court has previously

 construed the “doing business” standard under Section 1391(f)(3) to require a showing that the

 defendant’s “activities within the district are such that its business has become localized and is in

 operation within the district so that some state would probably require the foreign corporation to

 be licensed as a condition precedent to doing that business.” See Saint-Gobain, 2019 U.S. Dist.

 LEXIS 214167, at *27-28 (quoting Vivadent, Inc. v. Darby Dental Supply Co., 655 F. Supp.

 1359, 1362 (D.N.J. 1987)). Plaintiff does not allege any basis to conclude that Defendants’

 business “has become localized” in Delaware. Defendants have no offices, employees, or




 2
  In addition, as this Court has held, “[w]here there is more than one defendant, proper venue
 must be shown for each defendant.” Zazzali v. Swenson, 852 F. Supp. 2d 438, 446 (D. Del.
 2012) (Stark, J.) (internal quotation marks omitted). Even Plaintiff’s venue theory would not
 apply to PPSA because there is no allegation that PPSA has any interest in the PDVH shares or
 otherwise has any property in Delaware and therefore venue.
 3
  The venue allegations in the Complaint reference 28 U.S.C. § 1603. Compl. ¶ 6. That statute
 does not use, let alone define, the phrase “doing business.”


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 operations in Delaware. In the absence of such a physical presence in Delaware, Defendants

 would not be required to register as foreign corporations in Delaware. See 8 Del. C. § 371(b).

 And the absence of such a physical presence in Delaware precludes any finding that Defendants

 are “doing business” in Delaware under Section 1391(f)(3). See Shirobokova v. CSA Czech

 Airlines, Inc., 335 F. Supp. 2d 989, 991 (D. Minn. 2004)

  (holding that agency or instrumentality of a foreign state was not “doing business” in the district

 for purposes of Section 1391(f)(3) where, as here, the defendant “has no physical presence in

 [the district], and has no . . . operations in the state”).

         Moreover, this Court concluded in the Saint-Gobain case that PDVSA is not “doing

 business” in Delaware for purposes of Section 1391(f)(3). See Saint-Gobain, 2019 U.S. Dist.

 LEXIS 214167, at *27-28. In Saint-Gobain, the plaintiff brought an action to enforce an arbitral

 award against Venezuela. Id. at *25-26. The plaintiff asserted venue was proper under Section

 1391(f) based on allegations that PDVSA was “doing business” in Delaware through its

 Delaware subsidiary, PDVH, and that PDVSA was the putative alter ego of Venezuela. Id. at

 *26-27. This Court held that the plaintiff failed to establish either proposition. Id. In particular,

 this Court held that PDVSA’s ownership of a Delaware subsidiary and its exercise of shareholder

 rights in that subsidiary did not constitute “doing business” in Delaware for purposes of Section

 1391(f)(3). Id. at *27-28. This Court therefore transferred the Saint-Gobain case to the D.C.

 Court. Id. at *29. The same result is required here.

 II.     Alternatively, this Case Should Be Dismissed
         for Failure to Effect Service under the FSIA

         In the event that this Court concludes that venue is proper and declines to transfer the

 case to the D.C. Court, this Court should, alternatively, dismiss the case for improper service of

 process under the FSIA and Federal Rules 12(b)(4)-(5). The FSIA provides the exclusive


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 methods for serving foreign states and their agencies and instrumentalities. See 28 U.S.C.

 § 1608; Republic of Sudan v. Harrison, 139 S. Ct. 1048, 1054 (2019); Transaero, Inc. v. La

 Fuerza Aerea Boliviana, 30 F.3d 148, 154 (D.C. Cir. 1994) (quoting H.R. Rep. No. 94-1487, at

 24 (1976), as reprinted in 1976 U.S.C.C.A.N. 6623

 ). Here, Plaintiff argues that it served Defendants pursuant to a contractually agreed upon

 “special arrangement.” See D.I. 12 at ECF 1. To be sure, the FSIA provides for service of

 process to be effected on an agency or instrumentality of a foreign state through a contractually

 agreed upon special arrangement for service of process. See 28 U.S.C. § 1608(b)(1). However,

 the terms of the contractual special arrangement must clearly encompass service of process on

 the foreign sovereign defendant in the particular U.S. court proceeding at issue. See Chiejina v.

 Fed. Republic of Nigeria, No. 21-2241 (RJL), 2022 U.S. Dist. LEXIS 152675, at *7-8 (D.D.C.

 Aug. 23, 2022)

 ; Berkowitz v. Republic of Costa Rica, 288 F. Supp. 3d 166, 173 (D.D.C. 2018); Orange Middle

 E. & Afr. v. Republic of Eq. Guinea, No. 15-cv-849 (RMC), 2016 U.S. Dist. LEXIS 65147, at *8

 (D.D.C. May 18, 2016); Enron Nig. Power Holding, Ltd. v. Fed. Republic of Nig. (“Enron”), 225

 F. Supp. 3d 18, 22-23 (D.D.C. 2014). No such special arrangement exists here.

        Plaintiff appears to be referring to the service provisions in the Credit Agreements, which

 provide “for service of proceedings in England” to be effected on PDVSA through its

 authorized agent. Banco San Juan Internacional, Inc. v. Petróleos de Venezuela, S.A., [2020]

 EWHC 2145 (Comm) (July 31, 2020) at 4 (emphasis added). While Plaintiff relied on those

 service provisions in the underlying proceedings in the U.K. courts, those provisions by their

 terms are explicitly limited to service in “proceedings in England.” Id. Those provisions

 therefore have no application in proceedings before this Court or any other court in the United



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 States. Accordingly, the Credit Agreements do not provide a special arrangement for service of

 process in this case.

        The Enron case is on point. 225 F. Supp. 3d at 23. In that case, the plaintiff sought to

 enforce an international arbitration award against Nigeria and purported to serve Nigeria in

 accordance with a special arrangement in the parties’ underlying agreement. Id. at 21-22. The

 court held that the parties’ agreement provided for the parties to be served through a designated

 agent “in connection with proceedings in England and Wales” – and did not provide for a

 special arrangement for service in proceedings in the United States under the FSIA. Id. at 23

 (emphasis added). The court explained that: “The parties’ inclusion of a specific provision

 for legal service only in another jurisdiction indicates that they did not intend to create a

 ‘special arrangement for service’ for proceedings in the United States.” Id. (emphasis

 added). The Enron court thus concluded that service was improper under the FSIA.

        Enron is indistinguishable from the present case. Similar to the agreement in Enron, the

 service provisions in the Credit Agreements are explicitly limited to service of process in

 “proceedings in England.” Banco San Juan Internacional, Inc. v. Petróleos de Venezuela, S.A.,

 [2020] EWHC 2145 (Comm) (July 31, 2020) at 4. Thus, as in Enron, there is no special

 arrangement for service of process in the United States under Section 1608(b)(1).

        Moreover, Plaintiff’s attempt to serve Defendants by giving copies of the pleadings to

 Maples smacks of gamesmanship. Maples was appointed by Plaintiff itself and not Defendants.

 There is no basis for claiming that service on a random third-party in London was in any way

 calculated to provide Defendants reasonable notice of this U.S. proceeding. That is particularly

 true since Maples does not purport to have provided any notice of these proceedings to either

 Defendant. D.I. 13, at ECF 3; D.I. 14, at ECF 3. This Court and others have previously refused



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 to condone similar attempts to skirt the requirements of the FSIA. See Saint-Gobain, 2019 U.S.

 Dist. LEXIS 214167, at *31 (granting PDVSA’s motion to dismiss where plaintiff failed to

 separately serve PDVSA); Saint-Gobain Performance Plastics Eur. v. Bolivarian Republic of

 Venezuela, 23 F.4th 1036, 1040-41 (D.C. Cir. 2022) (rejecting creditor’s attempts to short-cut

 service of process on the Republic); Mobil, 863 F.3d at 124-25 (vacating ex parte judgment

 entered against the Republic as void under the FSIA’s service and venue requirements).

        Accordingly, even if this Court determines that venue is proper, this Court should dismiss

 this case for improper service of process under the FSIA.

 III.   Alternatively, this Case Should Be Dismissed
        for Lack of Personal Jurisdiction under the FSIA

        In the event that this Court concludes that venue is proper and declines to transfer the

 case to the D.C. Court, this Court should, alternatively, dismiss the case for lack of personal

 jurisdiction under the FSIA and Federal Rule 12(b)(2). The FSIA’s personal jurisdiction statute

 – 28 U.S.C. § 1330(b) – provides for the exercise of personal jurisdiction in actions against

 foreign states and their agencies and instrumentalities only where the defendant has been served

 in accordance with the FSIA’s service provisions and an exception to jurisdictional immunity has

 been established. See Harrison, 139 S. Ct. at 1054. Neither element of Section 1330(b) has been

 satisfied here. As discussed above, Defendants have not been served in accordance with 28

 U.S.C. § 1608(b). Furthermore, Plaintiff has not even identified any of the FSIA’s exceptions to

 jurisdictional immunity. As explained below, none of the FSIA’s exceptions apply in this case.

 Therefore, this Court lacks personal jurisdiction under the FSIA.

 IV.    Alternatively, the Case Must Be Dismissed for
        Lack of Subject Matter Jurisdiction under the FSIA




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        In the event that this Court concludes that venue is proper and declines to transfer the

 case to the D.C. Court, this Court should, alternatively, dismiss the case for lack of subject

 matter jurisdiction under the FSIA and Federal Rule 12(b)(1). The FSIA provides “the sole basis

 for obtaining jurisdiction over a foreign state in the courts of this country.” Saudi Arabia v.

 Nelson, 507 U.S. 349, 355 (1993) (quoting Argentine Republic v. Amerada Hess Shipping Corp.,

 488 U.S. 428, 443 (1989)). Under the FSIA, foreign states are presumptively immune from suit

 in U.S. courts. See Ezeiruaku v. Bull, 617 F. App’x 179, 181 (3d Cir. 2015) (citing 28 U.S.C.

 § 1604). That presumption can be overcome only where the plaintiff establishes the substantive

 requirements for abrogating foreign sovereign immunity set forth in 28 U.S.C. §§ 1605-1607.

 See Verlinden B.V. v. Cent. Bank of Nigeria, 461 U.S. 480, 493-94 (1983). Satisfying those

 substantive requirements is a prerequisite to the exercise of subject matter jurisdiction under 28

 U.S.C. § 1330(a). Where there is no dispute that the defendant is a foreign state under the FSIA,

 the plaintiff has the burden of overcoming the presumption of immunity by producing sufficient

 evidence to demonstrate that one of the FSIA’s statutory exceptions to immunity applies. See

 Ezeiruaku, 617 F. App’x at 181; Federal Ins. Co. v. Richard I. Rubin & Co., Inc., 12 F.3d 1270,

 1282, 1285, n.13 (3d Cir. 1993).

        Here, the Complaint asserts in conclusory fashion that Defendants are not entitled to

 foreign sovereign immunity under 28 U.S.C. § 1605. While Section 1605 provides certain

 exceptions to foreign sovereign immunity, the Complaint does not assert any specific exception

 to immunity. That is plainly insufficient. A plaintiff cannot establish subject matter jurisdiction

 under the FSIA where, as here, “the complaint makes the bald assertion that jurisdiction exists

 under § 1605” but “fails to specifically invoke any of the FSIA’s statutory exceptions.” Butler v.

 Sukhoi Co., 579 F.3d 1307, 1313 (11th Cir. 2009).



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        Moreover, there are no allegations in the Complaint that would support subject matter

 jurisdiction under any of the exceptions enumerated in Section 1605. The FSIA does not provide

 an exception to foreign sovereign immunity for actions to enforce foreign court judgments, and

 courts have routinely dismissed actions to enforce foreign court judgments for lack of subject

 matter jurisdiction under the FSIA. See, e.g., Despotovich v. Republic of Croat., No. 21 Civ.

 0050 (AT), 2022 U.S. Dist. LEXIS 147367, at *7 (S.D.N.Y. Aug. 17, 2022); Hussein v. Maait,

 __ F. Supp. 3d __, 2022 U.S. Dist. LEXIS 105286, at *13 (S.D.N.Y. June 13, 2022); Valambhia

 v. United Republic of Tanz., 18-cv-370 (TSC), 2019 U.S. Dist. LEXIS 54812, at *1-2 (D.D.C.

 Mar. 31, 2019), aff’d, 964 F.3d 1135 (D.C. Cir. 2020).




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                                         CONCLUSION

         For the foregoing reasons, this Court should grant Defendants’ motion to dismiss this

 case.

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